            Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 1 of 80



 1

 2                                               THE HONORABLE JOHN C. COUGHENOUR

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 6

 7                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF WASHINGTON
 8                                    AT SEATTLE

 9   MINDY LAUER,
                                                     No. 2:13-cv-00860-JCC
10                        Plaintiff,
                                                     DECLARATION OF PAUL WOODS IN
11         v.                                        SUPPORT OF PLAINTIFF'S MOTION
                                                     TO COMPEL RESPONSES TO
12   LONGEVITY MEDICAL CLINIC, PLLC, a               DISCOVERY
     Washington corporation; LONGEVITY
13
     LABORATORY, LLC, a Washington
14
     corporation; LONGEVITY DEVELOPMENT,
     LLC, a Washington corporation; SETH
15   TALBOTT and his marital community; and
     MICHELLE OLSON and her marital community,
16
                          Defendants.
17

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     DECLARATION OF PAUL WOODS IN SUPPORT OF             THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                 1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                     Seattle, Washington 98104
                                                                       (206) 343-2700
     Page i
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 2 of 80



 1
            I, PAUL WOODS, being duly sworn on oath under penalty of perjury under the laws of
 2
     the United States and Washington State depose and say:
 3
            1.      I am an attorney at The Blankenship Law Firm, P.S., counsel of record for
 4
     Plaintiff Mindy Lauer in the above-captioned matter.
 5
            2.      I am over the age of eighteen and am competent to testify to the matters set
 6
     forth herein based upon my personal knowledge.
 7
            3.      As explained in more detail in the Complaint for Damages, Dkt. 1, Ms. Lauer is
 8
     suing Defendants for discrimination and retaliation. As explained in the Complaint, Ms. Lauer
 9
     alleges that Defendants retaliated against her when she opposed race discrimination against
10
     Persian/Middle Eastern employees. Her opposition included providing a statement to Dr.
11
     Kambiz Yaraei when he sued Defendants for race discrimination. When Defendants learned
12
     about Ms. Lauer’s opposition to race discrimination, Defendant Seth Talbott (CEO of the
13
     Corporate Defendants) and Defendant Michelle Olson (Talbott’s subordinate, who was also
14
     Ms. Lauer’s supervisor) pulled Ms. Lauer into meeting and berated her, said they lost trust in
15
     her, and accused her of costing Defendants as much money as Talbott spent on his first house.
16
     See Dkt. 1. Defendants then retaliated against Ms. Lauer, including making demeaning
17
     comments about her to coworkers, writing her up for false reasons, and secretly meeting with
18
     coworkers and asking them to produce false information to get Ms. Lauer fired. See Dkt. 1.
19
            4.      As part of the false write-ups, Defendants wrote up Ms. Lauer under an anti-
20
     fraternization policy for allegedly being “aware” of problems between two coworkers who
21
     were dating—Ms. Maria Fox and Dr. Timothy Kennedy (even though Fox and Kennedy
22
     worked in a different city than Ms. Lauer and Ms. Lauer was not aware of problems in their
23
     relationship). See Dkt. 1. Supervisor Bia Remen, meanwhile, not only worked in the same
24
     office as Fox and Kennedy, but Remen set the two up on their first date in violation of the anti-
25
     fraternization policy. Attached as Exhibit A is a true and correct copy of an email from
26
     Defendants’ employee Chari Sewell to Defendant Olson, in which Ms. Sewell clearly explains

     DECLARATION OF PAUL WOODS IN SUPPORT OF                    THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                         1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                             Seattle, Washington 98104
                                                                               (206) 343-2700
     Page 1
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 3 of 80



 1
     that Supervisor Remen (not Ms. Lauer) set up Ms. Fox and Dr. Kennedy to date. The email
 2
     contains a statement of Defendants’ anti-fraternization policy.
 3
            5.      Somehow, Defendants disciplined Ms. Lauer for Ms. Fox’ and Dr. Kennedy’s
 4
     relationship, even though she had nothing to do with it. See Dkt. 1. Meanwhile, it appears that
 5
     no one else was disciplined for this. Thus, Ms. Lauer was treated with a clear double
 6
     standard—she was disciplined for the actions of other people who themselves appear to have
 7
     received no discipline. This is more evidence of retaliation
 8
            6.      Ms. Lauer’s Complaint further alleges that Ms. Lauer suffered great stress and
 9
     medically-diagnosed disabilities as a result of the retaliation, which required her to take a
10
     medical leave of absence. In an act of retaliation and disability-based-discrimination,
11
     Defendants fired Ms. Lauer while she was on leave and/or constructively fired her by sending
12
     her an email that revealed they were seeking to hire someone to replace Ms. Lauer. See Dkt. 1.
13
            7.      Ms. Lauer’s Complaint further alleges that Defendants discriminated against
14
     other people based on their Middle Eastern/Persian race. For example, the Complaint
15
     specifically identifies Dr. Kambiz Yaraei and Ms. Lobat Kimiai as others who were
16
     discriminated against based on their Middle Eastern/Persian race. The Complaint for Damages
17
     and the Declaration of Mindy Lauer, which is being submitted along with this Declaration,
18
     provide more information about the discrimination suffered by Dr. Yaraei and Ms. Kimiai.
19
            8.      Given Defendants’ pattern of discrimination, Ms. Lauer has propounded
20
     discovery requests seeking evidence of (1) Defendants’ discrimination against employees of
21
     certain Protected Groups (Middle Eastern, disabled, opposed discrimination), and (2) evidence
22
     that employees outside those groups were treated better than employees within the Protected
23
     Groups (thus proving a pattern of discrimination).
24
            9.      To that end, on November 12, 2013, my office propounded Plaintiff’s First Set
25
     of Interrogatories and Requests for Production to Defendant Longevity Medical Clinic, PLLC.
26
     Requests for production (“RFP”) numbers G through X requested production of the personnel

     DECLARATION OF PAUL WOODS IN SUPPORT OF                     THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                           1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                               Seattle, Washington 98104
                                                                                 (206) 343-2700
     Page 2
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 4 of 80



 1
     files of 18 employees of the Corporate Defendants, including Tish McAlpin, Defendant Seth
 2
     Talbott, Kambiz Yaraei, Lobat Kimiai, Defendant Michelle Olson, Bia Remen, Terry Craig,
 3
     Chris Cano, Flo Siguenza, Jennifer Adams, Maria Fox, Lyndon Capon, Jennifer Tager, Chari
 4
     Sewell, Crystal Priddy, Jerry Mixon (founder and co-owner of Corporate Defendants), Jason
 5
     Foltz, and Sarah Bingisser. RFP number Y additionally requested production of the personnel
 6
     files of anyone identified in Defendants’ Initial Disclosures, which includes three additional
 7
     employees of Defendants: CFO Bob Wagner, Michelle Prevette, and Josh Glandon (it also
 8
     includes employees such as owner Jerry Mixon and Defendants Talbott and Olson, whose
 9
     personnel files Plaintiff separately requested as noted above). Attached as Exhibit B is a true
10
     and correct copy of the relevant portions of Plaintiff’s First Set of Interrogatories and Requests
11
     for Production to Defendant Longevity Medical Clinic, PLLC.
12
            10.     Attached as Exhibit C is a true and correct copy of Defendants’ Initial
13
     Disclosures.
14
            11.     As explained in more detail in the Declaration of Mindy Lauer, which is
15
     submitted along with this declaration, every requested personnel file corresponds to one of the
16
     following: (1) fellow members of the Protected Groups who appear to have also suffered
17
     discrimination/retaliation; (2) employees outside the Protected Groups who appear to have
18
     been systematically treated better than the people within the Protected Groups, thus proving
19
     that Defendants treat members of the Protected Groups differently and discriminatorily; (3) the
20
     alleged discriminators themselves, and (4) officers of Corporate Defendants who Defendants
21
     listed in initial disclosures, who appear to have approved of the discriminators’ actions.
22
            12.     The District Court for the Western District of Washington has already ruled that
23
     personnel records, like the ones requested in this case, are discoverable in discrimination and
24
     retaliation cases. For example, attached as Exhibit D is a true and correct copy of a 2011 order
25
     from Judge Lasnik in the retaliation lawsuit EEOC v. Fry’s Electronics, Inc., No. C10-1562
26
     RSL. In this order, Judge Lasnik ordered the production of the entire personnel file of a

     DECLARATION OF PAUL WOODS IN SUPPORT OF                     THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                          1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                              Seattle, Washington 98104
                                                                                (206) 343-2700
     Page 3
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 5 of 80



 1
     potential witness who was rumored to have complained about discrimination. In that order,
 2
     Judge Lasnik noted that defendants should not be allowed to pick and choose which personnel
 3
     documents are discoverable, because that would grant defendants too much discretion in the
 4
     discovery process. For example, defendants could claim that actions of managers, which were
 5
     in fact harassing/discriminating, were completely fine and on that basis try to claim that the
 6
     documents were irrelevant. As Judge Lasnik explained in his order, it is simply impossible for
 7
     plaintiffs or the courts to identify in the abstract every type of document in a personnel file that
 8
     could contain admissible evidence.
 9
            13.     Defendant Longevity Medical Clinic has refused to produce any requested
10
     personnel files, other than the personnel file of Ms. Lauer herself and some personal records of
11
     named Defendants Olson and Talbott. On January 13, 2014, my office received Defendant’s
12
     answers to the requested discovery. Defendant refused to produce any personnel files as
13
     requested in RFP numbers G-Y. Attached as Exhibit E is a true and correct copy of the relevant
14
     portions of Defendant’s responses to Plaintiff’s First Set of Interrogatories and Requests for
15
     Production.
16
            14.     On March 18, 2014 I conferred telephonically with Mr. David Silke—counsel
17
     for Defendants—on this issue. In that conference, Mr. Silke informed me that Defendants
18
     would not produce entire personnel files, and that Plaintiff could ask for certain specific
19
     documents instead. In response, I informed Mr. Silke that there is federal court precedent
20
     granting the production of such personnel files in their entirety, as (1) it is impossible for
21
     plaintiffs to guess what specific documents might or might not be in personnel files they are
22
     not allowed to review, and (2) Federal Rule of Civil Procedure 26 allows discovery if a party
23
     requests production of evidence that is reasonably calculated to lead to the discovery of
24
     evidence admissible at trial. Thus, it does not matter if certain personnel documents are not
25
     admissible, as production of the requested personnel files is reasonably calculated to lead to the
26
     discovery of admissible evidence.

     DECLARATION OF PAUL WOODS IN SUPPORT OF                      THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                            1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                                Seattle, Washington 98104
                                                                                  (206) 343-2700
     Page 4
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 6 of 80



 1
            15.       Mr. Silke then told me that he would review the requested personnel files in
 2
     their entirety and, if Defendant Longevity was willing to supplement with the production of
 3
     any personnel files/documents, Defendant would so supplement by March 25, 2014.
 4
            16.       On March 27, 2014, my office received Defendant’s supplemental answers to
 5
     the requested discovery. In their supplemental responses, Defendant continues to refuse to
 6
     produce any of the personnel files requested in RFP number G-Y. In their response to RFP
 7
     number G, Defendant confirms that Defense Counsel reviewed the requested personnel files in
 8
     their entirety, yet still refuses to produce the personnel files. Attached as Exhibit F is a true and
 9
     correct copy of the relevant portions of Defendant’s supplemental responses to Plaintiff’s First
10
     Set of Interrogatories and Requests for Production.
11
            17.       In an attempt to compromise in this discovery dispute, on July 2, 2014, I sent a
12
     letter to Defense Counsel Angela Vogel, in which Plaintiff offered to narrow the scope of
13
     production for the 21 requested personnel files. In that letter, I proposed that Defendant
14
     produce the following categories of personnel documents in response to RFPs G-Y:
15
                     Documents related to qualifications, including applications, resumes, cover
16                    letters, job history, licenses/degrees, etc.
                     Documents related to job performance, including reviews (positive and
17                    negative), customer and/or patient comments and complaints, commendations,
                      etc.
18
                     Documents related to job history, including pay, bonuses, benefits, raises,
19                    promotions, demotions, job descriptions, resignation/termination records,
                      applications for promotions/transfers and the result of such applications, etc.
20                   Documents related to discipline, complaints (made by or against the employees
                      for any reason, including allegations of discrimination), investigations into
21
                      complaints, etc.
22                   Medical records, requested leaves of absence, the grant/denial of any such
                      requests, etc.
23                   Any records reflecting the race, national origin, and disability-related status of
                      the employees
24
     Attached as Exhibit G is a true and correct copy of my July 2 letter.
25
            18.       On July 8, 2014, Ms. Vogel sent me a letter in response to my July 2 letter. In
26
     her letter, Ms. Vogel agreed to produce some personnel records of Defendant Olson and

     DECLARATION OF PAUL WOODS IN SUPPORT OF                       THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                            1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                                Seattle, Washington 98104
                                                                                  (206) 343-2700
     Page 5
                 Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 7 of 80



 1
     Defendant Talbott, but stated that “irrelevant and personal portions such as medical, family,
 2
     and insurance information” will not be produced. Ms. Vogel’s letter indicates that Defendants
 3
     will not produce any of the requested records for anyone other than Defendants Olson and
 4
     Talbott, even after my letter proposed narrowing the scope of the production. Attached as
 5
     Exhibit H is a true and correct copy of Ms. Vogel’s letter.
 6
             19.      On July 8, 2014, I sent Ms. Vogel a letter in response to her letter from earlier
 7
     that day. In my letter, I reiterated that Plaintiff continues to propose that Defendant Longevity
 8
     produce the records identified in my July 2 letter, which is narrower than the scope of
 9
     production that Plaintiff originally requested. I explained that theses narrowed categories of
10
     documents are discoverable, and I reminded Ms. Vogel that Defendant was supposed to
11
     produce these documents more than five months ago. I also invited Ms. Vogel to confer with
12
     me again on this discovery dispute. Attached as Exhibit I is a true and correct copy of my July
13
     8 letter.
14
             20.      On July 9, 2014, I conferred telephonically with Ms. Vogel regarding this
15
     dispute. Ms. Vogel confirmed to me that Defendants would not produce any personnel records
16
     of anyone other than Ms. Lauer and the two individual defendants, Olson and Talbott. Ms.
17
     Vogel proposed that the parties submit all of the requested personnel files to this Court, and
18
     burden this Court with reviewing each document in camera. Without this Court engaging in in
19
     camera review and ordering production, Ms. Vogel confirmed that Defendants will not
20
     produce the requested documents.
21
             21.      At this point, production of the requested records is more than five months
22
     overdue. This Court should not be burdened with reviewing every single page of the requested
23
     personnel records—records that are standard discovery in discrimination/retaliation lawsuits.
24
     Nor should Ms. Lauer be forced to wait extra time for a review of every document. Production
25
     is well overdue, and my office has repeatedly conferred with Defense Counsel on this issue.
26



     DECLARATION OF PAUL WOODS IN SUPPORT OF                       THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                            1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                                Seattle, Washington 98104
                                                                                  (206) 343-2700
     Page 6
             Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 8 of 80



 1
     Therefore, Ms. Lauer is moving this Court to order production of the categories of documents
 2
     listed above in Paragraph 17.
 3

 4

 5
            I declare under penalty of perjury under the laws of the United States and Washington
 6
     State that the foregoing is true and correct to the best of my knowledge and belief.
 7

 8
            SWORN TO this 10th day of July, 2014 at Seattle, Washington.
 9

10

11                                             By: _s/ Paul S. Woods_______________
                                                   Paul S. Woods, WSBA No. 42976
12

13

14

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     DECLARATION OF PAUL WOODS IN SUPPORT OF                    THE BLANKENSHIP LAW FIRM, P.S.
     PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                         1000 Second Avenue, Suite 3250
     DISCOVERY (Cause No. 2:13-cv-00860-JCC)                             Seattle, Washington 98104
                                                                               (206) 343-2700
     Page 7
                       Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 9 of 80



           1                                  DECLARATION OF SERVICE

           2
                      The undersigned hereby declares under penalty of perjury under the laws of the State of
           3
               Washington that, on the below date, I mailed or caused delivery and/or electronically filed a
           4
               true copy of this document, which will send notification of such filing, to the following
           5
               persons:
           6
               David W. Silke, Esq.
           7   Brittany F. Stevens, Esq.
               Angela Vogel, Esq.
           8   Gordon & Rees LLP
               701 Fifth Avenue, Suite 2100
           9   Seattle, WA 98104
               Telephone: (206) 695-5100
       10      Facsimile: (206) 689-2822
               Email: dsilke@gordonrees.com
       11              bstevens@gordonrees.com
                       avogel@gordonrees.com
       12
               Attorneys for Defendants
       13

       14

       15
               DATED this 10th day of July, 2014, at Seattle, Washington.
       16

       17
               s/ Paul S. Woods
       18
               Paul S. Woods, WSBA No. 42976
       19      The Blankenship Law Firm, P.S.
               1000 Second Avenue, Suite 3250
       20      Seattle, WA 98104
               Telephone: (206) 343-2700
       21      Fax: (206) 343-2704
               Email: pwoods@blankenshiplawfirm.com
       22

       23

       24

       25

       26



               DECLARATION OF PAUL WOODS IN SUPPORT OF                    THE BLANKENSHIP LAW FIRM, P.S.
               PLAINTIFF'S MOTION TO COMPEL RESPONSES TO                         1000 Second Avenue, Suite 3250
               DISCOVERY (Cause No. 2:13-cv-00860-JCC)                             Seattle, Washington 98104
                                                                                         (206) 343-2700
               Page 8
if060501
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 10 of 80




                   Exhibit A
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 11 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 12 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 13 of 80




                   Exhibit B
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 14 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 15 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 16 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 17 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 18 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 19 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 20 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 21 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 22 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 23 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 24 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 25 of 80




                   Exhibit C
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 26 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 27 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 28 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 29 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 30 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 31 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 32 of 80




                   Exhibit D
             Case
              Case2:13-cv-00860-JCC
                   2:10-cv-01562-RSL Document
                                      Document25
                                               99 Filed
                                                   Filed07/10/14
                                                         10/17/11 Page
                                                                   Page331 of
                                                                           of 80
                                                                              3




 1
 2
 3
 4
 5
 6                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF WASHINGTON
 7                                        AT SEATTLE
 8   _______________________________________
                                            )
 9   EQUAL EMPLOYMENT OPPORTUNITY           )
     COMMISSION,                            )                No. C10-1562RSL
10                                          )
                           Plaintiff,       )
11              v.                          )                ORDER GRANTING PLAINTIFF’S
                                            )                MOTION TO COMPEL
12   FRY’S ELECTRONICS, INC.,               )
                                            )
13                         Defendant.       )
     _______________________________________)
14
15                 This matter comes before the Court on “Plaintiff EEOC’s Motion to Compel
16   Discovery.” Dkt. # 74. Having reviewed the memoranda, declarations, and exhibits submitted
17   by the parties, the Court finds as follows:
18          (1) After the motion to compel was filed, the parties resolved many of the disputes
19   identified by plaintiff. Only the following requests for production remain at issue:
20                 (a) RFP 27, seeking the personnel file of Jennifer Takahashi; and
21                 (b) RFPs 24, 25, 28, 30, and 38 to the extent they seek documents related to
22   disciplinary actions imposed on and/or the termination of Minasse Ibrahim, Arturo Squires, Duc
23   Le, Derek Montoya, and Kayla Sando.
24          (2) The EEOC filed this action against Fry’s Electronics Inc. on behalf of America Rios
25   and Ka Lam. According to the EEOC, the assistant manager of Fry’s Renton store, Minasse
26
     ORDER GRANTING PLAINTIFF’S
     MOTION TO COMPEL
             Case
              Case2:13-cv-00860-JCC
                   2:10-cv-01562-RSL Document
                                      Document25
                                               99 Filed
                                                   Filed07/10/14
                                                         10/17/11 Page
                                                                   Page342 of
                                                                           of 80
                                                                              3




     Ibrahim, sexually harassed Ms. Rios. When Mr. Lam reported the sexual harassment, he was
 1
     fired in retaliation.
 2
                    In his interview with the EEOC, Mr. Lam stated that retaliatory firings had
 3
     occurred at the Renton store in the past (or at least the lore of the store includes stories of such
 4
     firings) and that a woman named Jennifer Takahashi had attempted to complain a few years
 5
     before Mr. Lam. The nature of her complaint is not clear, but Mr. Ibrahim was the store’s
 6
     customer service manager and was allegedly in a personal relationship with a subordinate
 7
     employee at the time. Not surprisingly, the EEOC seeks discovery regarding these events and
 8
     has requested Ms. Takahashi’s personnel file. Because the request is reasonably calculated to
 9
     lead to the discovery of admissible evidence on issues such as the nature of Ms. Takahashi’s
10
     complaint, the repercussions of such a complaint, Mr. Ibrahim’s involvement, and Fry’s
11
     knowledge and handling of the events, Ms. Takahashi’s personnel file is relevant under Fed. R.
12
     Civ. P. 26(b)(1). To the extent Fry’s has standing to raise privacy objections on behalf of Ms.
13
     Takahashi, there is a protective order in place that will protect her personnel file from public
14
     disclosure. See Dkt. # 82.
15
            (3) The EEOC has requested personnel documents related to the alleged harasser (Mr.
16
     Ibrahim), the ultimate decision maker at the Renton store (Mr. Squires), and individuals who are
17
     comparable to Mr. Lam and Ms. Rios (Mr. Le, Mr. Montoya, and Ms. Sando). Fry’s has offered
18
     to produce documents regarding disciplinary actions and terminations involving these five
19
     people, but only if they relate to discrimination, sexual harassment, retaliation, tardiness,
20
     violation of the leadership oath, threats, inappropriate relationships with subordinates,
21
     productivity decreases, failure to meet sales expectations, theft, and drug use. Fry’s refuses to
22
     produce documents related to adverse employment actions for which these justifications are not
23
     listed on the theory that only the justifications given for Mr. Lam’s and Ms. Rios’ adverse
24
     employment actions are relevant to this case.
25
                    The line defendant draws excludes potentially relevant information and leaves too
26
     ORDER GRANTING PLAINTIFF’S
     MOTION TO COMPEL                                  -2-
            Case
             Case2:13-cv-00860-JCC
                  2:10-cv-01562-RSL Document
                                     Document25
                                              99 Filed
                                                  Filed07/10/14
                                                        10/17/11 Page
                                                                  Page353 of
                                                                          of 80
                                                                             3




     much discretion to the producing party. For example, what if a manager were engaged in an
 1
     “inappropriate relationship” with another manager (rather than a subordinate) or in a sexual
 2
     relationship that Fry’s did not think was “inappropriate?” What if an at-will employee were
 3
     fired shortly after complaining of harassment, but no justification were provided? What if, as
 4
     Mr. Lam has stated, employees were fired for talking about discriminatory or retaliatory actions,
 5
     but the forms merely stated “unproductive communications?” It is impossible for the EEOC (or
 6
     the Court) to identify in the abstract every reason an employee may be disciplined and/or
 7
     whether the discipline is relevant to this case or provides a legitimate point of comparison. In
 8
     addition, the absence of a disciplinary action or a euphemistic description of inappropriate
 9
     behavior in order to avoid the imposition of harsher sanctions may also be relevant in that it
10
     could show that Fry’s tolerated certain behavior and/or that Mr. Lam was treated differently than
11
     comparable employees because he complained.
12
13
                   For all of the foregoing reasons, plaintiff’s motion to compel is GRANTED.
14
     Defendant shall, within five days of the date of this Order, produce the personnel file of Jennifer
15
     Takahashi and the disciplinary and/or termination records for Minasse Ibrahim, Arturo Squires,
16
     Duc Le, Derek Montoya, and Kayla Sando.
17
18
19                 Dated this 17th day of October, 2011.
20
21
                                               A
                                               Robert S. Lasnik
22                                             United States District Judge
23
24
25
26
     ORDER GRANTING PLAINTIFF’S
     MOTION TO COMPEL                                -3-
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 36 of 80




                   Exhibit E
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 37 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 38 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 39 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 40 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 41 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 42 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 43 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 44 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 45 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 46 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 47 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 48 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 49 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 50 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 51 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 52 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 53 of 80




                   Exhibit F
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 54 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 55 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 56 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 57 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 58 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 59 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 60 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 61 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 62 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 63 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 64 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 65 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 66 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 67 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 68 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 69 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 70 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 71 of 80




                   Exhibit G
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 72 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 73 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 74 of 80




                   Exhibit H
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 75 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 76 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 77 of 80




                    Exhibit I
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 78 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 79 of 80
Case 2:13-cv-00860-JCC Document 25 Filed 07/10/14 Page 80 of 80
